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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

* * *

JAMES O’DOAN, Case No. 3:17-cv-00293-LRH-CBC

Plaintiff, |] ORDER

Vv.

RENO POLICE OFFICER JOSHUA
SANFORD, RENO POLICE OFFICER
CADE LEAVITT, and THE CITY OF
RENO, a political subdivision of the State of
Nevada; and JOHN DOES I through X,
inclusive,

Defendants.

 

 

 

 

The City of Reno (“City”), Joshua Sanford (“Sanford”), and Cade Leavitt (“Leavitt”)
(collectively “defendants”) move this court for summary judgment. ECF No. 39. Plaintiff, James
O’Doan (“O’Doan”) filed a response, to which defendants replied. ECF Nos. 42, 48. The court
now grants defendants’ motion.

I. BACKGROUND

On June 15, 2016, at approximately 7:00 p.m., O’Doan alleges he suffered a grand mal
seizure while taking a shower. ECF No. 7 ¥ 10. O’Doan, who is epileptic, alleges that after he
suffers from a seizure, he enters a “post-ictal” state, during which he is unable to cooperate
because he is not conscious. Jd. J] 9, 14. On the date at issue, following the seizure, O’Doan left
his home on Gentry Way in Reno, Nevada, and began wandering, fully nude, in tais alleged

altered state. Jd. f¥] 10-11, 15. O’Doan’s girlfriend, April O’Frea (““O’Frea”), called 911 to report
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O’Doan’s seizure and request help. Jd. ff] 11-12. O’Frea indicated that O’ Doan had been
attacked by police in the past during seizures because he doesn’t listen and repeatedly informed
dispatch of O’Doan’s medical condition. Jd. F¥ 13, 16.

Firefighters trained for medical emergencies and REMSA were dispatched by the 911
operator and arrived at the scene. ECF No. 39-4 at 4-6; ECF No. 42-2. After being unsuccessful
in restraining O’ Doan, they began to pursue him on foot as he walked northbound. along Kietzke
Lane in his naked state. ECF No. 42-4 at 28; ECF 42-2. On request of the firefighters and
REMSA, police assistance was expedited, and Reno Police Officers Sanford and Leavitt were
dispatched to the scene. Id. at 23; ECF No. 39-4 at 6. When the officers arrived, they directed
O’Doan to stop and announced themselves as police. ECF No. 42-4 at 30. O’Doan ignored their
instructions, and “‘ball[ed] up both his fists and kind of (brought) his arms, his forzarms, up, not
at a full 90-degree angle, but he [brought] them up slightly.” /d. at 31. Leavitt thea attempted to
use his TASER on O’Doan, however, it malfunctioned. Jd. at 32. Sanford then performed a
“reverse reap throw,” taking O’Doan down to the ground. Jd. at 33. Sanford’s written report of
the incident provides that “this caused O’Doan’s head to receive lacerations and swelling on it in
a variety of places.” ECF No. 42-11 at 10. Sanford and Leavitt handcuffed O’Dozn and placed
him in Ripp leg restraints because he was actively attempting to kick officers and REMSA
personnel. ECF No. 42-4 at 39. REMSA personnel were then able to sedate O’Dcan and he was
transported to Renown Regional Medical Center (“Renown”). ECF No. 7 ff 19-20. On the
scene, Sanford advised his supervisor, Sergeant Browitt, that “they are claiming that he was
suffering from a seizure.” ECF No. 42-4 at 45. O’Doan admits that he has no mernory of this
incident. ECF No. 42 at 3.

Dr. Daryl Di Rocco (“Di Rocco”) treated O’Doan in the emergency room at Renown and
diagnosed him with having suffered from a seizure. Id. 20; ECF No. 42-12 at 8. O’Doan
alleges that Di Rocco spoke with Sanford and Leavitt, and both were informed of the diagnosis.
ECF No. 7 § 22. Discharge papers indicate Sanford and O’Doan signed for the documents,
however, Sanford does not remember doing so. ECF No. 42-4 at 51-52. Sanford <lso declared

that “(njeither the emergency room doctor, nor anyone else at Renown, informed us that Plaintiff

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supposedly had a seizure or was an epileptic.” ECF No. 39-7 at 4. At approximately 9:41 p.m.,
O’Doan was discharged from Renown into the custody of Sanford and Leavitt. ECF No. 7 23.
Sanford and Leavitt then arrested O’Doan for indecent exposure and resisting a police officer,
and he was transported to the Washoe County Jail and booked at 11:03 p.m.. Jd. ff] 24, 26, 28.
The following morning, at approximately 9:30 a.m., O’Doan was released on bail. Id. | 26.

Sanford and Leavitt both wrote police reports following the incident; thouzh neither
mention that O’Doan is epileptic, or that he alleges he had a seizure and was in a post-ictal state
at the time of the incident. ECF No. 42-11 at 8-10. The charges were later dismissed without
prejudice. See ECF Nos. 42-19; 42-21.

On May 8, 2018, O’Doan filed suit in this court alleging the following causes of action:
(1) Violation of the ADA, 42 U.S.C. § 12132, against the City of Reno; (2) Excessive Force in
violation of the 4th and 14th Amendments, under 42 U.S.C. § 1983, against Sanford; (3)
Unlawful Seizure in violation of the 4th Amendment, under 42 U.S.C. § 1983, against Sanford
and Leavitt; (4) Violation of 14th Amendment guaranteed Due Process, under 42 U.S.C. § 1983,
against Sanford and Leavitt; (5) Assault and Battery against Sanford; and (6) False Arrest and
False Imprisonment against Sanford and Leavitt. ECF Nos. 1, 7. The court’s orde: on the
pending dispositive motion now follows.

Il. LEGAL STANDARD

Motion for Summary Judgment Pursuant to Civil Procedure Rule 56.

Summary judgment is appropriate only when the pleadings, depositions, answers to
interrogatories, affidavits or declarations, stipulations, admissions, and other materials in the
record show that “there is no genuine issue as to any material fact and the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(a). In assessing a motion for sununary
judgment, the evidence, together with all inferences that can reasonably be drawn therefrom,
must be read in the light most favorable to the party opposing the motion. Matsushita Elec.
Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); County of Tuolumne v. Sonora
Cmty. Hosp., 236 F.3d 1148, 1154 (9th Cir. 2001).

 
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The moving party bears the initial burden of informing the court of the basis for its
motion, along with evidence showing the absence of any genuine issue of material fact. Celotex
Corp. v. Catrett, 477 U.S. 317, 323 (1986). On those issues for which it bears the burden of
proof, the moving party must make a showing that is “sufficient for the court to hold that no
reasonable trier of fact could find other than for the moving party.” Calderone v. United States,
799 F.2d 254, 259 (6th Cir. 1986); see also Idema v. Dreamworks, Inc., 162 F. Supp. 2d 1129,
1141 (C.D. Cal. 2001).

To successfully rebut a motion for summary judgment, the nonmoving party must point
to facts supported by the record which demonstrate a genuine issue of material fact. Reese v.
Jefferson Sch. Dist. No. 14J, 208 F.3d 736 (9th Cir. 2000). A “material fact” is a fact “that might
affect the outcome of the suit under the governing law.” Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 248 (1986). Where reasonable minds could differ on the material facts at issue,
summary judgment is not appropriate. See v. Durang, 711 F.2d 141, 143 (9th Cir. 1983). A
dispute regarding a material fact is considered genuine “if the evidence is such that a reasonable
jury could return a verdict for the nonmoving party.” Liberty Lobby, 477 U.S. at 248. The mere
existence of a scintilla of evidence in support of the party’s position is insufficient to establish a
genuine dispute; there must be evidence on which a jury could reasonably find fo: the party. See
id. at 252.

III. DISCUSSION

A. O’Doan has failed to establish an issue of fact exists as to whether the City of Reno
violated Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12132.

First, O’Doan alleges that the City of Reno failed to train, supervise, and/or discipline
Sanford and Leavitt in recognizing symptoms of a disability under Title II of the ADA. ECF No.
7 4 34. While this Circuit has no set standard for failure-to-train claims under the ADA, other
courts have analyzed these claims under the § 1983 framework. See Green v. Tri-County Metro.
Transp. Dist. of Oregon, 909 F. Supp. 2d 1211, 1220 (D. Or. 2012). Under § 1983, the City of
Reno is liable “only if its policy or custom caused the constitutional deprivation complained of.”

Mateyko v. Felix, 924 F.2d 824, 826 (9th Cir. 1990) (citing Monell v. Dep’t of Social Servs., 436
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US. 658, 690 (1978)). “The inadequacy of police training may serve as the basis for § 1983
liability only where the failure to train amounts to deliberate indifference to the rizhts of persons
with whom the police come into contact.” City of Canton v. Harris, 489 U.S. 378, 388 (1989).

O’Doan has failed to provide any evidence that the City of Reno failed to ‘rain its officers
on the rights of persons officers come into contract. Sanford testified that he received post-
academy written and filed training on the ADA, though he was unable to pinpoint exact training
literature or information he had received. See ECF Nos. 42-4 at 61. Leavitt testified that he had
received general training on the ADA, but that he did not recall any specific training on epilepsy.
ECF No. 42-5 at 66-67. Firefighter Blondfield testified that he believed training regarding
epilepsy was covered under general medical training, but that he could not recall epilepsy
specific training, and that he received training in posti-ictal states as part of his EMT advanced
training. ECF No. 42-6 at 23. Firefighter Haughland testified that he was familiar with both
epilepsy and post-ictal states, but states that he did not receive specific training regarding
epilepsy or posit-ictal states. ECF No. 42-8 at 23, 26. Firefighter Alt testified that as an EMT
advanced he had training in epilepsy and testified that he had on the job training in responding to
epilepsy and post-ictal states. ECF No. 42-9 at 27-34. While this evidence may prove that the
officers do not remember their training, or did not receive epilepsy specific training, it does not
establish “a program-wide inadequacy in training” on persons covered under the ADA. See
Alexander v. City of and County of San Francisco, 29 F.3d 1355, 1367 (9th Cir. 1994) (“In those
cases where we have held that a question of fact existed as to the deliberately indifferent
character of a municipality’s failure to train, plaintiffs have alleged a program-wide inadequacy
in training.”’).

However, even if the officers were inadequately trained to respond to epilzpsy, to
succeed on such a claim, O’Doan must also prove that the inadequate or deficient training
“actually caused the officers’ indifference to [his] medical needs.” See City of Canton, 489 U.S.
at 390-91. Here, this incident involves what appeared to be a noncompliant, fully nude
individual, walking down a busy street. The officers needed to bring O’Doan under control in

order to render both O’Doan and the scene safe. Further, O’Doan was in need of medical

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attention, yet REMSA personnel and firefighter EMTs were unable to help him due to his
noncompliant, agitated state. Therefore, even if the officers had known he was epileptic and in a
post-ictal state, and been trained in how to handle people in such states, there is no evidence that
the officers would have acted differently—they would still have needed to bring him under
control, using the a reasonable amount of physical force, in order for him to be contained and
treated.

Second, O’Doan’s complaint also alleges that his rights were violated under the ADA
because Sanford and Leavitt wrongly arrested him after they misperceived the effects of
O’Doan’s disability as criminal activity. ECF No. 7 9 36. Under Title II of the ADA, “no
qualified individual with a disability shall, by reason of such disability, . . . be deried the benefits
of the services, programs, or activities of a public entity, or be subjected to discrirnination by any
such entity.” 42 U.S.C. § 12132. To establish a claim under Title II, O’ Doan must: show “that (1)
he is a qualified individual with a disability, (2) he was excluded from participation in or
otherwise discriminated against with regard to a public entity’s services, programs, or activities,
and (3) such exclusion or discrimination was by reason of his disability.” Lovell v. Chandler, 303
F.3d 1039, 1052 (9th Cir. 2002). Because plaintiff seeks to recover monetary darrages, O’ Doan
must also prove intentional discrimination. Duvall v. County of Kitsap, 260 F.3d 1.124, 1138 (9th
Cir. 2001).

Defendants do not dispute that O’Doan has epilepsy, which makes him a qualified
individual with a disability under the Act. Second, the Ninth Circuit has held that Title II applies
to arrests. Sheehan v. City and County of San Francisco, 743 F.3d 1211, 1232 (9th 2014), rev’ d
in part, City and County of San Francisco, Cal. V. Sheehan, 135 S. Ct. 1765, 1773-74 (2015)
(declining to address this issue); see also Williams v. City of New York, 121 F. Supp. 3d 354,
365-66 n.14 (S.D. N.Y. 2015) (The Fourth, Fifth, Ninth, Tenth, and Eleventh Circuit Courts have
generally found that “interactions between law enforcement and disabled individuals—whether
initiated by the disabled individual or the police and whether the interaction culminates in an

arrest—are ‘services, programs, or activities’ subject to the requirement of accommodation under

 
 

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Title II of the ADA.”) Therefore, the court agrees that the main issue under this analysis is
whether the officers arrested O’Doan because of, or by reason of, his disability.

While O’Doan argues that the officers were aware he had a seizure, that is not clear from
the record and there is no evidence to show the officers or medical personnel either knew or
believed he was in a post-ictal state. Sanford testified that he had not heard the 9°.1 calls placed
by O’Frea until the deposition, and in his declaration, he states, “(nJeither the emergency room
doctor, nor anyone else at Renown, informed us that Plaintiff supposedly had a seizure or was an
epileptic.” See ECF No. 42-4 at 12-13, 17, 22; ECF No. 39-7 at 4. Leavitt testified that he did not
recall any mention of epilepsy on the call. ECF No. 42-5 at 25. Leavitt also testified that after
O’Doan was transported to Renown and had been treated by the physician, he spcke with
O’Doan and was made aware that O’Doan alleged he had a seizure. Jd. at 53. Leavitt further
testified that he spoke with the treating physician, Di Rocco, who indicated that C’Doan’s story
did not match up. Jd. at 54. Di Rocco testified that he had no memory of the incident, though
based on his notes from the event, he had diagnosed O’ Doan as suffering from a seizure. ECF
No. 42-12 at 7-9; ECF No. 45-1.

From this record there is no evidence that the officers arrested O’ Doan because he was
epileptic. A Sixth Circuit decision with similar facts is instructive. See Everson v. Leis, 412 Fed.
Appx. 771 (6th Cir. Feb. 10, 2011) (unpublished). There a plaintiff who “threatened to swing at
mall security,” attempted to kick and swing at approaching individuals, “kicked a deputy,” and
“continued to kick and fight” even after deputies placed him on the ground, was charged with
assault and disorderly conduct. Jd. at 773. Officers were aware of the man’s condition as they
were called to the scene because the man was reportedly suffering from a seizure. Id. at 772-773.
In deciding a motion for summary judgment on the plaintiff's ADA claim, the lower court
assumed the plaintiffs actions were involuntary due to his epilepsy, yet still found his ADA
claim not actionable because any discrimination was unintentional. Jd. at 774. Though it was also
determined that the officer had not received any “training on accommodating people with

epilepsy,” the Sixth Circuit affirmed. Jd. at 776.

 
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First, when Sanford and Leavitt arrived at the scene, regardless of why they were called,
it was their job to secure the scene and protect themselves and others. Therefore, when Sanford
chose to take O’Doan down to the ground and restrain him, this was done to effectuate his job,
not to discriminate against an individual suffering from a seizure or epilepsy. See Id. at 776-77
(finding that the officer did not intentionally discriminate against the plaintiff when he
approached and restrained him).

Second, Sanford and Leavitt arrested O’ Doan because he was wandering the streets fully
nude, was noncompliant, and failed to respond to their orders, not because he suffered from a
seizure or was epileptic. While the record indicates that the officers may have known O’Doan
had had a seizure, nothing in the record indicates that the officers knew the seizur2 was ongoing
or that he was in a post-ictal state when the charged conduct occurred. See id. at 778 (rejecting
the plaintiff's argument that because the officer knew he had suffered from a seizure earlier, the
officer knew he lacked the required mens rea to have committed the charged crime). Like in
Everson, because the record does not show that the officers knew O’Doan’s conduct was caused
by his alleged post-ictal state, O’Doan has failed to establish that the officers arrest of him for
that conduct—walking in public nude and resisting arrest—was intentional discrimination
against him because of his disability. Accordingly, the court grants defendants’ motion for
summary judgment as to O’Doan’s first cause of action.

B. Qualified Immunity pursuant to 42 U.S.C. § 1983

O’Doan alleges three causes of action pursuant to 42 U.S.C. § 1983: (1) Sanford used
excessive force against him in violation of his 4th and 14th Amendment rights; (2) the officers
unlawfully seized and arrested him in violation of his 4th Amendment rights; and (3) the officers
violated his due process rights under the 14th Amendment. While there is no dispute that
Officers Sanford and Leavitt were acting under color of state law when the incident occurred,
defendants argue that the officers’ conduct did not deprive O’ Doan of either constitutional or
statutory rights, and therefore, they are entitled to qualified immunity. The court will now

address each of plaintiff's constitutional claims in turn.

 
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i. Officer Sanford is entitled to qualified immunity for O’Doan’s second cause of
action: excessive force in violation of his Fourth and Fourteenth Amendment

rights.

“A private right of action exists against police officers who, acting under color of state
law, violate federal constitutional or statutory rights.” Jackson v. City of Bremerton, 268 F.3d
646, 650 (9th Cir. 2001) (citing 42 U.S.C. § 1983). However, “[q]ualified immunity attaches
when an official’s conduct does not violate clearly established statutory or constitutional rights
of which a reasonable person would have known.” White v. Pauly, 137 S. Ct. 548, 551 (2017)
(per curiam) (internal quotation marks omitted). As the court has discretion of which prong of
the qualified immunity test to address first, it therefore starts with whether plaintiif’s right at
issue was clearly established at the time of defendants’ misconduct. See Pearson v. Callahan,
555 U.S. 223, 242 (2009).

The right is “clearly established” if it is “sufficiently clear that every reasonable official
would have understood that what he is doing violates that right,” such that “existing precedent
[has] placed the statutory or constitutional question beyond debate.” Ashcroft v. a!-Kidd, 563
U.S. 731, 741 (2011) (internal quotations and citations omitted); see also Plumho,f v. Rickard,
572 U.S. 765, 778-79 (2014) (“a defendant cannot be said to have violated a clearly established
right unless the right’s contours were sufficiently definite that any reasonable official in the
defendant’s shoes would have understood that he was violating it.” (emphasis added)); Shafer v.
County of Santa Barbara, 868 F.3d 1110, 1117 (9th Cir. 2017) (“For a right to be clearly
established, case law must ordinarily have been earlier developed in such a concrete and
factually defined context to make it obvious to all reasonable government actors, in the
defendant’s place, that what he is doing violates federal law.”); Injeyan v. City of Laguna Beach,
645 Fed. Appx. 577, (9th Cir. March 23, 2017) (“Qualified immunity applies unless existing case
law makes clear to any reasonable officer in the defendant’s particular position that his use of
force is excessive.”). “In other words, immunity protects all but the plainly incompetent or those
who knowingly violate the law.” White, 137 S. Ct. at 551 (internal quotations omitted).

O’Doan argues that his right to be free from excessive force pursuant to the Fourth and

Fourteenth Amendments was violated when the officer Sanford used a “reverse reap throw” on

 
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him while he was allegedly in a “‘post-ictal” state following a grand mal seizure. It is well
established that generally, use of excessive force is a violation of the Fourth Amendment. See
Saucier v. Katz, 533 U.S. 194, 201-202 (2001). However, the Supreme Court has made clear that
“established law” should not be defined generally; rather, “(t]he dispositive quest.on is whether
the violative nature of particular conduct is clearly established.” Mullenix v. Luna, 136 S.Ct.
305, 308 (2015) (internal quotation and citations omitted) (emphasis in original). Further, while
“(ujse of excessive force is an area of the law ‘in which the result depends very much on the
facts of each case,’ . . . police officers are entitled to qualified immunity unless existing
precedent ‘squarely governs’ the specific facts at issue.” Kisela v. Hughes, 138 S. Ct. 1148, 1153
(2018) (quoting Mullenix, 136 S. Ct. at 308-309) (emphasis added).

The court has found no precedent before the Supreme Court, the Ninth Circuit, or this
District that clearly establishes that using a nonlethal, reverse reap throw (or similar technique)
to detain an individual, suffering from an alleged medical condition, who is nonresponsive and
fails to comply with orders, is excessive force. Rather, the case law most closely on point
provides for the opposite conclusion; that an officer in Sanford’s position would be entitled to
qualified immunity. See Shafer, 868 F.3d at 1117 (holding that it was not clearly established that
an officer would violate a person’s Fourth Amendment rights when the officer “progressively
increases his use of force from verbal commands, to an arm grab, and then a leg sweep
maneuver, when a misdemeanant refuses to comply with the officer’s orders and <esists,
obstructs, or delays the officer in his lawful performance of duties such that the o:ficer has
probable cause to arrest him in a challenging environment.”); Luchtel v. Hagemann, 623 F.3d
975, 980-82 (9th Cir. 2010) (based on a totality of the circumstances, it was not excessive force
for the officers to “use the least intrusive means available to them,” and take to the ground a
woman who was “running around the neighborhood out of control on drugs,” acting delusional,
and threatening suicide); Bennett v. Gow, 345 Fed. Appx. 286 (9th Cir. Sept. 10, 2009)
(unpublished) (After Bennett attempted to twist away while Officer Gow was handcuffing him,
“Officer Gow then pushed Bennett to the ground using relatively minor force and finished

handcuffing him. Although certainly uncomfortable and unpleasant, the take-down was not an
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objectively unreasonable use of force.”); Pope v. Las Vegas Metro. Police Dep’t, (Case No. 2:12-
cv-01867-LDG (PAL), 2014 WL 1092263, at *4, 8 (D. Nev. March 18, 2014) (after plaintiff was
suspected of driving while intoxicated, used his car for balance while walking, and then
attempted to pull away, the officer “took him to the ground with a controlled take down.” Even
though plaintiff's back was broken, the officer was entitled to qualified immunity, reasoning that
“protection of qualified immunity does not require an officer to first obtain a med:cal history
from an individual who is otherwise not obeying an officer’s instructions before applying the
force the officer believes is necessary to handcuff a resisting individual.”), aff'd 647 Fed. Appx.
817, 820 (9th Cir. April 11, 2016) (unpublished) (based on the circumstances, the officer’s
“decision to take Pope to the ground in a ‘controlled’ manner was not excessive.”); see also
Griggs v. Brewer, 841 F.3d 308, 314 (Sth Cir. 2016) (“our precedent does not clearly establish
that this “takedown” maneuver—against a drunken, erratic suspect who is resisting arrest—is
constitutionally unreasonable.”).

Not only does this precedent make clear that Sanford’s actions were not against clearly
established Fourth Amendment rights, it also makes clear that Sanford’s actions were not
excessive force. “Determining whether the force used to effect a particular seizure is ‘reasonable’
under the Fourth Amendment requires a careful balancing of the nature and quality of the
intrusion on the individual’s Fourth Amendment interest against the countervailing governmental
interests at stake.” Graham v. Connor, 490 U.S. 386, 396 (1989) (internal quotation marks and
citations omitted). The analysis “requires careful attention to the facts and circumstances of each
particular case, including the severity of the crime at issue, whether the suspect poses an
immediate threat to the safety of the officers or others, and whether he is actively resisting arrest
or attempting to evade arrest by flight.” /d. Further, whether an officer acted reasonably “must be
judged from the perspective of a reasonable officer on the scene, rather than with the 20/20
vision of hindsight.” Jd.

Sanford testified that he was dispatched to the incident because “fire and REMSA needed
Code 3 response to their scene;” Code 3 meaning, “there’s something violent happening.” ECF

No. 42-4 at 23. While Sanford testified that before he arrived at the scene, he saw the dispatch
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comment that read “RP advised the subject is in a grand mal seizure. Advised last time officers
attacked him due to him being in a seizure,” he did not hear any of the 911 calls prior to his
deposition. Jd. at 12-13, 17, 22, 26. Upon arriving at the scene, Sanford attempted to make
contact with O’Doan, gave him verbal orders, told O’Doan to stop and identified himself as
police. /d. at 30. O’ Doan failed to comply with these orders and continued walking northbound
on Kietzke Lane. /d. O’Doan then turned toward Sanford, “‘ball{ed] up his fists and kind of
[brought] his arms, his forearms, up, not at a full 90-degree angle, but he [brought] them up
slightly.” Id. at 31. After Leavitt’s TASER malfunctioned, Sanford performed a “reverse reap
throw,” which enabled Sanford to bring O’Doan to the ground. Jd. at 33. O’Doan was placed in
handcuffs and Ripp leg restraints because “the was actively trying to kick officers and medical
personnel on the scene,” while they attempted to bring him into their control. Jd. at 39.

Based on a totality of the circumstances, Sanford used an objectively reasonable amount
of force to bring O’Doan into his control. First, Sanford was dispatched for a Code 3, meaning
when he arrived on the scene, he believed something violent was happening. Second, O’Doan
failed to respond to his commands and made what appeared to be fighting gesture toward the
officers. While plaintiff argues this was because he was in a “post-ictal” state, importantly, he
admits that had he been left to wander the streets he could have been hurt or he could have hurt
others. See ECF No. 39-2 at 6-7; Smith v. City of Hemet, 394 F.3d 689, 702 (9th Cir. 2010)
(“whether the suspect poses an immediate threat to the safety of the officers or others,” is the
“most important single element”). Third, O’Doan attempted to walk away from officers, even
after they’d given him commands, and was unresponsive. Finally, O’Doan was proceeding down
a public street fully nude. These circumstances show it was objectively reasonabl2 for Sanford to
bring O’Doan under his control and that he used a relatively minor amount of force reasonably
necessary to do so.

Therefore, plaintiff has failed to prove either prong necessary to overcome defendants
qualified immunity. Accordingly, the court grants defendants’ motion for summa-y judgment as

to O’Doan’s second cause of action.

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il. Officers Sanford and Leavitt are entitled to qualified immunity for O’Doan’s third
cause of action: unlawful seizure in violation of his Fourth Amendment rights.

 

O’Doan also alleges that his Fourth Amendment rights were violated when he was
arrested following his discharge from the hospital. Defendants maintain that it was lawful
because they had probable cause to arrest O’Doan following the incident.

“Probable cause to arrest or detain is an absolute defense to any claim under § 1983
against police officers for wrongful arrest or false imprisonment, as the lack of probable cause is
a necessary element of each.” Lacy v. County of Maricopa , 631 F.Supp.2d 1183, 1193 (9th Cir.
2008). Further, “[e]ven law enforcement officials who ‘reasonably but mistakenly conclude that
probable cause is present’ are entitled to immunity.” Hunter v. Bryant, 502 U.S. 224, 227 (1991)
(quoting Anderson v. Creighton, 483 U.S. 635, 641 (1987)). Similar to a court’s determination of
qualified immunity in cases of excessive force, “the court should ask whether agents acted
reasonably under settled law in the circumstances, not whether another reasonable, or more
reasonable, interpretation of the events can be constructed” after the incident. Hunter, 502 U.S.
at 228.

“Probable cause existed if ‘at the moment the arrest was made . . . the facts and
circumstances within their knowledge and of which they had reasonably trustwor‘hy information

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were sufficient to warrant a prudent man in believing” a crime had been committed. Jd. (quoting
Beck v. Ohio, 379 U.S. 89, 91 (1964)). “Probable cause ‘demands’ factual ‘specificity’ and ‘must
be judged according to an objective standard,’” U.S. v. Johnson, 256 F.3d 895, 905 (9th Cir.
2001) (quoting Terry v. State of Ohio, 392 U.S. 1, 21-22 n.18 (1968)); the officer's “subjective
beliefs are immaterial to our inquiry,” U.S. v. Struckman, 603 F.3d 731, 740 (9th Cir. 2010).
Defendants argue that they had probable cause to arrest O’Doan because the facts and
circumstances within their knowledge were sufficient for them to believe O’ Doar: was
committing the offense charged: they observed O’ Doan walking down the street completely
nude, exposing his genitals; he took a threatening position toward officers when they attempted

to make contact with him, balling and raising his fists; he failed to comply with officers’ direct

orders; he attempted to walk away from officers when ordered to stop; he resistec| officer’s

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attempts to take him into custody, thrashing and kicking as officers handcuffed him and put his
legs in Ripp restraints. While there is some discrepancy as to whether the officers were aware
O’Doan had suffered a seizure, as discussed above, there is nothing in the record hat indicates
they were aware he was in a post-ictal state. And even if the officers were aware that O’Doan
had suffered from a seizure earlier, from this record, it is clear that Sanford and L2avitte had
probable cause to arrest O’Doan for indecent exposure and resisting arrest. Accordingly, the

court grants defendants’ motion for summary judgment as to O’Doan’s third cause of action.

ili. Officers Sanford and Leavitt are entitled to qualified immunity for O’Doan’s
fourth cause of action: violation of his right to Due Process under the Fourteenth

Amendment.

O’Doan claims that his right to Due Process under the Fourteenth Amendinent was
violated when Sanford and Leavitt failed to mention in their police report and supporting
affidavit that he was alleged to have suffered from a seizure and was in a post-ictal state at the
time of the incident. O’Doan also alleges his due process rights were violated when the officers
continued their investigation and subsequently arrested him, even after knowing he had suffered
from a seizure—a fact O’ Doan argues is clear exculpatory evidence of the crimes charged.
Defendants argue that they were not informed that he was epileptic and that when they arrived at
the scene, they did not witness him having a seizure. Therefore, when Leavitt was informed that
O’Doan alleged he had suffered a seizure, he followed up with Di Rocco, who indicated to
Leavitt that O’Doan’s story did not “match up.” From these circumstances, defendants argue
they did not violate his due process rights by continuing their investigation, ultimately arresting
him, and failing to mention that he alleged he had a seizure during the incident.

The court again uses the two-step qualified immunity inquiry, determining whether
defendants’ conduct violated a clearly established constitutional or statutory right. See White,
137 S. Ct. at 551. As discussed above, qualified immunity should be granted unless the existing
precedent clearly establishes that the officers’ conduct violated a constitutional right. Ashcroft,
563 U.S. at 741. Additionally, to meet this exacting standard of “clearly established,” the
existing precedent must fit the facts at issue to a high degree of specificity. Mullenix, 135 S. Ct.

at 308. While “there is a clearly established constitutional due process right not to be subjected to
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criminal charges on the basis of false evidence that was deliberately fabricated by the
government,” Devereaux v. Abbey, 263 F.3d 1070, 1074-75 (9th Cir. 2001) (en banc), plaintiff
has pointed to no case law that squarely governs the specific facts at issue here. No case law
clearly establishes that if an officer failed to include in his police report or supporting affidavit an
arrestee’s self-serving statement regarding his medical condition, which was not fully verified by
the treating physician, that the officer was violating the arrestee’s due process rights. Further,
plaintiff cites no case law that clearly establishes that an officer violates an arrestee’s due process
rights by investigating and subsequently arresting the individual for crimes the officer saw
committed, even if a possible medical condition could mitigate the charged crimes.

Therefore, defendants are entitled to qualified immunity; accordingly, the court grants
defendants’ motion for summary judgment as to O’Doan’s fourth cause of action.

C. O’Doan’s State Law Claims

i. Officer Sanford’s use of force was reasonable; therefore, the court grants
defendants’ motion for summary judgment on O’Doan’s fifth cause of action.

 

If a police officer uses more force than is reasonably necessary in making a lawful arrest,
he or she commits a battery upon the arrestee. See Ramirez v. City of Reno, 925 F. Supp. 681,
691 (D. Nev. 1996) (“Police officers are privileged to use the amount of force which reasonably
appears necessary, and are liable for battery to the extent they use more force than is reasonably
necessary.”); Yada v. Simpson, 913 P.2d 1261, 126 (Nev. 1996) (the jury was instructed that “a
police officer who uses more force than is reasonably necessary to effect a lawful arrest commits
a battery upon the person arrested.”’). “The standard for common-law assault and battery by a
police officer thus mirrors the federal civil rights law standard: Liability attaches at the point at
which the level of force used by a peace office exceeds that which is objectively reasonable
under the circumstances.” Ramirez, 925 F. Supp. at 691.

As discussed above, Officer Sanford’s use of force, applying a “reverse reap throw,” in
order to control O’Doan was not excessive. Therefore, as his use of force was objectively
reasonable under the circumstances, the court must also grant defendants’ motion for summary

judgment as to O’Doan’s fifth cause of action for assault and battery.

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il. Sanford and Leavitt had probable cause to arrest O’ Doan; therefore, the court

grants defendants’ motion for summary judgment on O’Doan’s sixth and seventh
causes of action.

As discussed above, Sanford and Leavitt had probable cause to arrest O’ Doan. “[A]n
arrest made with probable cause is privileged and not actionable.” Nelson v. City of Las Vegas,
665 P.2d 1141, 1144 (Nev. 1983). O’Doan argues that the officers knew he had suffered a
seizure, but arrested him anyway, and therefore are liable for false arrest and imprisonment.
However, as discussed at length above, even if the officers knew he had suffered « seizure, the
record does not show that the officers knew O’Doan was in the alleged post-ictal state, such that
he was not aware of his conduct and could not have the required mens rea to complete the crimes
as charged. Rather, the officers knew O’Doan was fully nude and walking around in public; that
he was nonresponsive to their orders; and that he resisted arrest. Further, when the officers
followed up with O’Doan’s treating physician, Di Rocco, on O’Doan’s alleged seizure, Di Rocco
indicated to the officers that the story “didn’t match-up.” Because these facts show the officers
had probable cause to arrest O’Doan, they cannot be held liable for false arrest or imprisonment.
Accordingly, the court grants defendants’ motion for summary judgment as to O’ Doan’s sixth
and seventh causes of action.

IV. CONCLUSION

IT IS THEREFORE ORDERED that defendants’ motion for summary judgment (ECF
No. 39) is GRANTED.

The Clerk is directed to enter judgment for defendants in accordance with this order and

close this case.

IT IS SO ORDERED.
DATED thi day of March, 2019.

 

L Y R. HICKS
UNITED STATES DISTRICT JUDGE

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